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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

DONNA MOWREY,

       Plaintiff,

v.                                                            Case No: 8:17-cv-2788-T-36TGW

NAVIENT SOLUTIONS, LLC,

      Defendant.
___________________________________/

                                            ORDER

       Before the Court is the Joint Stipulation of Dismissal With Prejudice (Doc. 21). In accord

with the Joint Stipulation of Dismissal With Prejudice, it is ORDERED AND ADJUDGED as

follows:

       1)      The Joint Stipulation of Dismissal With Prejudice is APPROVED (Doc. 21).

       2)      This cause is dismissed, with prejudice. Each party shall bear its own costs and

attorneys’ fees.

       3)      The Clerk is directed to close this case.

       DONE AND ORDERED in Tampa, Florida on July 10, 2018.




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Counsel of Record
